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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                         )
 BOSTON SCIENTIFIC CORPORATION           )
 and BOSTON SCIENTIFIC SCIMED, INC.,     )
                                         )
                Plaintiffs,              )
                                         )
                        v.               )             C.A. No. 18-1869-CFC-CJB
                                         )
 MICRO-TECH ENDOSCOPY USA INC.,          )            REDACTED - PUBLIC VERSION
 MICRO-TECH (NANJING) CO., LTD., and     )
 HENRY SCHEIN INC.,                      )
                                         )
                Defendants.              )
                                         )

         LETTER TO THE HONORABLE CHRISTOPHER J. BURKE FROM
             PILAR G. KRAMAN REGARDING PLAINTIFFS BOSTON
     SCIENTIFIC CORPORATION’S AND BOSTON SCIENTIFIC SCIMED, INC.’S
              OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE
              PLAINTIFFS’ FINAL INFRINGEMENT CONTENTIONS

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 Dated: August 26, 2020

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 Dear Judge Burke:

 Defendants’ motion seeks the extreme sanction of striking BSC’s infringement contentions. But,
 “[t]he exclusion of critical evidence,” such as a party’s contentions, is “not normally to be imposed
 absent a showing of willful deception or flagrant disregard of a court order by the proponent of the
 evidence.” Personal Audio, LLC v. Google, Inc., C.A. No. 17-1751-CFC-CJB, 2020 WL 774407,
 at *1 (D. Del. Feb. 18, 2020) (citation omitted). BSC’s contentions are sufficient to satisfy the
 factors set forth in Meyers v. Pennypack Woods Home Ownership Assn., 559 F.2d 894, 904-05 (3d
 Cir. 1977), to which Defendants merely pay lip service. BSC responds to each of Defendant’s
 arguments and establishes that Defendants’ motion fails under the Pennypack factors.

 1. BSC’s alternative contentions regarding induced infringement are proper

 BSC contends that Defendants directly infringe the apparatus claims of the ’371 and ’725 patents.
 With respect to the “sheath” limitation, however, BSC asserts, as third-tier alternative argument,
 that if Defendants do not directly infringe, then the claims are nevertheless infringed by physicians
 that Defendants induce to infringe. See D.I. 169, Tab 1 at Ex. B, p. 3 and Ex. C, p. 1. Specifically,
 the limitation recites “a flexible sheath … which, in an operative configuration, extends into a
 living body ….” See id. (emphasis added). In supplemental interrogatory responses first served
 on April 30, 2020—i.e., during Markman briefing—Defendants asserted for the first time that the
 accused devices do not infringe because at the time of sale they do not extend into a living body.
 Ex. A at 14-15. In its contentions, BSC responded that: first, the devices as sold literally satisfy
 this limitation because they are designed/configured to extend into a patient’s body when in use;
 second, the devices satisfy this limitation under the doctrine of equivalents; and third, to the extent
 it is determined that the devices do not infringe at the time of sale, they would nevertheless infringe
 when in use by physicians, and Defendants induce such infringement. BSC submits that it need
 not formally plead this third-tier alternative argument in an amended complaint given that induced
 infringement is already at issue in light of BSC’s assertions of induced infringement of the method
 claims of the ’245 patent. See D.I. 141 ¶ 37. But, to the extent the Court determines it needs to
 do so, BSC should be granted leave to amend its complaint.

 2. Claim 9 of the ’371 patent is properly in the case

 “Under Twombly and Iqbal, the use of exemplary pleading of claims is sufficient to satisfy Rule
 12(b)(6).” See Promos Techs., Inc. v. Samsung Elecs. Co. Ltd., C.A. No. 18-307-RGA, 2018 WL
 5630585, at *2 (D. Del. Oct. 31, 2018) (citing Koninklijke Philips N.V. v. ASUSTeK Comput. Inc.,
 C.A. No. 15-1125-GMS, 2016 WL 6246763, at *4 (D. Del. Oct. 25, 2016) (holding that providing
 “specific details of at least one of the method and device claims allegedly infringed under each
 patent-in-suit” was sufficient under Rule 12(b)(6) (emphasis added)). The use of an exemplary
 claim is permitted particularly “if the allegations in the pleadings are supplemented with detailed
 infringement contentions,” as is the case here. See Liqwd, Inc. v. L’Oréal USA, Inc., C.A. No. 17-
 14-JFB-SRF, 2019 WL 366223, at *4 (D. Del. Jan. 30, 2019). Thus, BSC was not required to
 specifically plead each claim it asserts, and the procedural mechanism for identifying the asserted
 claims is the contentions process set forth in the Court’s Scheduling Order.1 D.I. 29. As such,
 1
  Defendants do not challenge BSC’s ability to assert claims 3, 7, 13 and 15 of the ’245 patent and
 claims 2, 3, 6, 8, 9, 10, 11, and 12 of the ’725 patent, notwithstanding that BSC included detailed
 allegations in its Amended Complaint only as to claim 1 of each patent.
                                                   1
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 BSC’s Amended Complaint properly includes detailed allegations regarding one asserted,
 exemplary claim from each of the patents-in-suit. Defendants challenge BSC’s right to assert
 claim 9 of the ’371 patent now, but Defendants have been on notice of BSC’s contentions as to
 that claim since at least November 2019, when BSC served its initial infringement contentions.

 Defendants ignore the context of the Court’s order denying, in part, BSC’s motion for leave to
 amend its complaint. D.I. 136. Some claims of the ’371 patent were invalidated in an IPR
 instituted by a different, unrelated defendant. See Cook Grp. Inc. v. Boston Sci. Scimed, Inc., 809
 F. App’x 977 (Fed. Cir. 2020). Thus, when BSC amended its complaint for different reasons, BSC
 wanted to make clear it was not asserting any of those then-invalidated claims. Accordingly, while
 including detailed allegations as to representative claim 8, it also specifically identified the
 particular claims it was still asserting—i.e., only claims 8 and 9. In its order, the Court held that
 BSC had pled allegations sufficient to satisfy Iqbal and Twombly only with respect to claim 8 (i.e.,
 and not with respect to claim 9). Accordingly, BSC dropped the references to claim 9 from the
 Amended Complaint it filed. But as with the other patents-in-suit, BSC did not limit its
 infringement contentions to just the claim of the ’371 patent formally pled in its Amended
 Complaint. BSC has proceeded in line with the pleading rules and with standard practice in this
 District for patent cases. Defendants identify no prejudice, nor could they, as they have been on
 notice of BSC’s allegations for more than nine months now. BSC should not be unfairly prejudiced
 with an extreme sanction for something they were not required to do in the first instance.

 3. BSC’s contentions provide sufficient notice regarding BSC’s infringement theories

 Infringement contentions serve a notice function, narrowing the issues and providing a patentee’s
 infringement theories “beyond that which is provided by the mere language of the patent.” See
 Wi-LAN Inc. v. Vizio, Inc., C.A. No. 15-788-LPS, 2018 WL 669730, at *1 (D. Del. Jan. 26, 2018).
 “Yet Plaintiff need not in its contentions actually prove its infringement case.” Id. (finding
 contentions sufficient where plaintiff provided detail regarding how each claim limitation was met
 by each accused product); see also Pragmatus Telecom LLC v. Newegg Inc., C.A. No. 12-1533-
 RGA, 2016 WL 675529, at * 3 (D. Del. Feb. 18, 2016) (rejecting defendant’s complaints as
 arguments that “simply nitpick at details it wanted clarified”).

 Here, Defendants articulate no reasonable basis for striking BSC’s infringement contentions or a
 basis to compel more detail. BSC has fully articulated its infringement positions in its FICs
 consistent with the Court’s claim constructions; Defendants’ “disagreement with [BSC’s]
 interpretation of its claims does not make [its] infringement contentions insufficient.” KI Ventures,
 LLC v. Fry’s Elecs., Inc., 579 F. App’x 985, 991 (Fed. Cir. 2014). Beyond its contentions, expert
 discovery will provide further evidence in support of BSC’s FICs.

        a. BSC’s FICs apply the proper claim constructions

 Defendants argue that BSC relies on constructions that Judge Connolly rejected for “breakable
 link…adapted to be broken” and “connecting member.” D.I. 169 at 1-2. Not so.

 “breakable link … adapted to be broken”: For the “breakable link … adapted to be broken”
 limitation of the ʼ245 patent, the highlighted portion of BSC’s FICs below (claim 1 of the ʼ245
 patent) shows how BSC’s FICs faithfully apply the Court’s construction:
                                                  2
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     Court’s
   construction                BSC’s FICs for ʼ245 patent claim 1 (emphasis added)
    (D.I. 140)

  “a component       The Hooks and the proximal pin form a mechanical connection between the
  of the device      control wire and the clip, and that link is a breakable link adapted to be
  designed to        broken in that the Hooks are designed such that, when the control wire
  mechanically       retracts and subjects the Hooks to a sufficient tensile force, the connection
  fail by            between the Hooks and the proximal pin is broken, thereby uncoupling the
  fracturing at a    control wire from the clip. The Hooks are designed to mechanically fail by
  predetermined      fracturing (e.g., by plastic deformation that causes the Hooks to fracture—
  tensile load”      see, e.g., BSC-MT139793, -849, and -857) so as to release from the
                     proximal pin upon application of that tensile force.

 First, Defendants argue that BSC’s contention that “the connection between the Hooks and the
 proximal pin is broken, thereby uncoupling the control wire from the clip” is “the claim construction
 position Plaintiffs proposed and the Court rejected.” D.I. 169 at 2. But BSC does not contend that
 “the connection” is the only thing that breaks. Rather, BSC contends that the connection between
 the Hooks and the proximal pin breaks because the Hooks themselves break. See, e.g., D.I. 169, Tab
 1 at Ex. A, p. 2 (“The Hooks are designed to mechanically fail by fracturing….”).

 Second, Defendants argue that BSC’s FICs “merely suggest[] that this claim element may be met
 ‘e.g.,’ when a component undergoes deformation, a point that Judge Connolly also expressly
 rejected.” D.I. 169 at 2. But BSC contends that fracturing occurs not just by any form of
 deformation, but specifically by plastic deformation that results in fracturing of the accused
 devices’ Hooks. Unlike other forms of deformation, which the Court likened to “straightening”
 (see D.I. 169, Tab 2 (Hrg. Tr.) at 33:1-2) and do not result in mechanical failure by fracturing,
 plastic deformation permanently distorts the material when subjected to stress that exceeds its yield
 strength, causing it to, in some instances, mechanically fail by fracturing. This contention is
 consistent with the Court’s construction. See id. at 34:11-16. This type of fracturing is described
 in the documents explicitly referenced in BSC’s FIC’s, including an expert report submitted in
 European infringement litigation between the parties involving foreign counterparts of the patents-
 in-suit. Ex. B.

 Third, BSC specifically contends that the Accused Devices are designed to mechanically fail by
 fracturing—again consistent with the Court’s construction, and which Defendants explicitly admit
 in their submissions to the FDA seeking clearance to market the Accused Devices. See Ex. C at 4
 (“
                                 ”) (emphasis added); D.I. 169, Tab 2 (Hrg. Tr.) at 34:23-35:5.

 “connecting member”: Likewise, for the “connecting member” limitation of the ʼ725 patent,
 BSC’s FICs again faithfully apply the Court’s construction:




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      Court’s
    construction                          BSC’s FICs for ʼ725 patent claim 1
     (D.I. 140)

  “tension member     As just described, for the Accused Original/Buckle Devices, the Hooks
  that connects the   and connecting tube form a separable yoke. The Hooks extend distally
  clip arms to the    from the control member on opposite sides of the clip assembly and hook
  yoke and biases     onto the proximal pin on opposite sides of the clip. The proximal pin thus
  the clip arms to    extends between the first and second yoke arms coupling the yoke to the
  an open             clip assembly. The proximal pin is a tension member that connects the clip
  configuration”      arms to the yoke and biases the clip arms to an open configuration. Distal
                      movement of the control wire causes the proximal pin to move distally,
                      and the distal movement of the proximal pin causes the clip arms to open
                      as the clip arms are pushed out of the capsule and the slots formed in the
                      proximal section of the clip arms ride against the distal pin. Thus, the
                      proximal pin biases the clip arms in the open position. The yoke arms
                      become separated from the proximal pin when subjected to a
                      predetermined from by the control member to uncouple the control
                      member from the clip assembly as is described in detail above.

 In particular, BSC’s FICs state that the proximal pin is the tension member—the tension comes
 from the fact that the proximal pin is a solid component that establishes a resistive force so that
 the yoke can separate from it under the tension force applied by the control element. The term
 “bias” means “a force field applied to a device to establish a reference level to operate the device.”
 Ex. D. Here, the reference level is the arms-open position, which is attained by the force of the
 control wire on the proximal pin (i.e., the tension member) when the control wire pushes the
 proximal pin distally. Thus, the proximal pin is a “connecting member” in accordance with the
 Court’s construction. Moreover, BSC has included alternative contentions as to how the Accused
 Devices satisfy this limitation under the doctrine of equivalents. E.g., D.I. 169, Tab 1 at Ex. C, p.
 6.

 Unlike the contentions at issue in Intellectual Ventures I LLC v. AT&T Mobility LLC, C.A. No.
 13-1668-LPS, 2017 WL 658469 (D. Del. Feb. 14, 2017) (“IV”), BSC’s contentions apply the
 Court’s claim constructions and put Defendants on notice as to how the accused products meet the
 asserted claim limitations. The Court struck the contentions in IV because those contentions
 omitted “the latter half of the Court’s construction,” which the Court found “problematic because,
 as the Court observed in its claim construction opinion, application-awareness requires both parts
 of the Court’s construction.” IV at *2. Here, by contrast, BSC faithfully applied the Court’s
 constructions to each Accused Device, providing notice to Defendants of BSC’s infringement
 theories. Defendants may disagree with BSC’s positions regarding application of the Court’s
 claim constructions to these devices, but those disagreements have no bearing on the sufficiency
 of the contentions themselves and will “be adjudicated, on the merits, at the appropriate
 time.” Princeton Digit. Image Corp. v. Harmonix Music Sys., Inc., C.A. No. 12-1461-LPS-CJB,
 2018 WL 2298340, at *4 (D. Del. May 14, 2018).


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        b. BSC’s FICs provide sufficient notice as to its theories regarding the ’245 patent

 Defendants wrongly assert that BSC’s FICs for the ’245 patent are deficient as to the Accused
 Buckle and Lockado Devices because they purportedly allege that some “unidentified component
 fractures” and cite no evidence “of which, if any, component actually fractures.” D.I. 169 at 3.
 BSC clearly identifies the components that fracture: the Lockado devices’ “C-shaped Hooks [that]
 extend proximally from the clip legs,” and the Buckle devices’ “C-shaped (buckle) hooks [that]
 extend distally from a connecting tube coupled to the distal end of the control wire.” D.I. 169 at
 Tab 1, Ex. A, pp. 2-3. BSC further identifies how these Hooks satisfy the limitation—they are
 each “designed to mechanically fail by fracturing (e.g., by plastic deformation that causes the
 Hooks to fracture). . . . A tensile force sufficient to cause the breakable link to break in this manner
 is applied when the user exerts a tensile force on the control wire and this force is opposed by a
 corresponding oppositely directed force via the coil shaft, the bushing, and the capsule.” See
 discussion supra regarding the “breakable link . . . adapted to be broken” limitation. As discussed
 above, and as BSC’s expert will demonstrate, the plastic deformation resulting in fracturing of
 these Hooks is sufficient to satisfy the Court’s construction and occurs in the same fashion as
 occurs with respect to the j-hooks of the Accused Original Device. Contentions are not the time
 for BSC to put forth all of its evidence, or even any evidence, of Defendants’ infringement; that is
 for expert discovery. See Wi-LAN, 2018 WL 669730, at *1.

        c. BSC’s Doctrine of Equivalents (“DOE”) contentions provide sufficient notice

 Defendants mischaracterize BSC’s DOE contentions as being cursory and merely reserving the
 right to assert infringement based on DOE. D.I. 169 at 3. Not so. In reality, for each relevant
 limitation, BSC specifies why the accused component is insubstantially different from the claim
 element, and further applies the well-established “function-way-result” analysis. E.g., D.I. 169,
 Tab 1 at Ex. C, pp. 5-6. These are far from boilerplate reservations of the right to assert DOE, and
 they clearly disclose BSC’s DOE theories.

 The single case Defendants cite—IV, 2017 WL 658469—supports BSC, not Defendants. Although
 the Court found certain of IV’s DOE contentions lacking where they relied on an incorrect claim
 construction (id., at *2), it affirmed the sufficiency of other DOE contentions that “establish
 equivalency on a limitation-by-limitation basis, ‘linking . . . the insubstantiality of differences
 between the claimed invention and the accused device’ and, as a result provide sufficient notice of
 IV’s DOE theory.” Id. (quoting Akzo Nobel Coatings, Inc. v. Dow Chem. Co., 811 F.3d 1334,
 1342 (Fed. Cir. 2016)). That is exactly what BSC’s DOE contentions do here.
                                                 ***
 Finally, Defendants assert no cognizable claim of prejudice. They are on notice of BSC’s
 infringement theories, and BSC’s experts will apply the Court’s claim constructions in their
 reports, as BSC has done in its FICs. At the very least, if the Court finds that BSC’s contentions
 are in any way deficient, it should grant BSC the opportunity to amend its contentions, rather than
 having them struck altogether. While Defendants fail to address any of the other Pennypack
 factors, BSC notes that the trial is not until next year, and no expert reports have been served.
 Further, Defendants do not allege, nor could they prove, any bad faith or willfulness on BSC’s
 part.

 For all of these reasons, the Court should deny Defendants’ motion.
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                                           Respectfully,
                                           /s/ Pilar G. Kraman

                                           Pilar G. Kraman (No. 5199)

 Attachments: Exhibits A-D




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                                 CERTIFICATE OF SERVICE

        I, Pilar G. Kraman, Esquire, hereby certify that on September 2, 2020, I caused to be

 electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

 using CM/ECF (which will send notification that such filing is available for viewing and

 downloading to all registered counsel), and in addition caused true and correct copies of the

 foregoing document to be served upon the following counsel of record by electronic mail:



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